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                        EXHIBIT J
                         (Corrected Version of Doc. 16-9)
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                                          Bartield Nominees Limited
                                                 'Re::i.stered Addre:�:
                Company Ko. 2825, 'frafalgar Court, Les Banque., St. Poter Port, (foern.,ey, Channel l$laods, GYl Jl)A



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To                         SS&C Fund Services
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                       !i.1a1kd.ir@.ssinc.com                           Fr-oin                  Don Anderson
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Description
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